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                    UNITED STATE MN     Cr COURT
                 FOR THE MIDDLE DISTRICT cffl AIABAMA
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TAILGATE GUYS,LLC;                                                   PLAINTIFFS
PARKER DUFFEY; MICHAEL
OTWELL; and DUFFEY & OTWELL
COMPANIES,LLC.

vs.                                          Civil Action No.   3:1,S-cv -cfqq-
                                                   DEMAND FOR JURY TRIAL
WILLIAM McCLAIN
                                                                    DEFENDANT


               COMPLAINT FOR DECLARATORY JUDGMENT


      Plaintiffs Tailgate Guys, LLC ("Tailgate Guys"), Parker Duffey ("Duffey"),

Michael Otwell (`Otwell"), and Duffey & Otwell Companies, LLC ("D&O

(collectively referred to as "Plaintiffs") hereby file this complaint for declaratory

judgment against William McClain ("McClaie or "Defendanr) and allege as

follows:

                                  Nature of Action

       1.    This is an action for a declaratory judgment that McClain has no

rightful claim to or ownership of Tailgate Guys.

                                       Parties

      2.     Plaintiff Tailgate Guys is a limited liability company with its principal

place of business in Opelika, Alabama. No member to Tailgate Guys is a Texas

citizen.
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        3.    Plaintiff Duffey is an individual over the age of 19 years and resides

in Opelika, Alabama.

        4.    Plaintiff Otwell is an individual over the age of 19 years and resides in

Auburn, Alabama.

        5.    Plaintiff D&O is a limited liability company with its principal place of

business in Lee County, Alabama. No member ofD&O is a Texas citizen.

        6.    Defendant McClain is an adult resident citizen of Texas.

                                Jurisdiction and Venue

        7.    The jurisdiction in this cause is proper pursuant to the Declaratory

Judgment Act (28 U.S.C. §§ 2201 and 2202) and diversity of citizenship (28

U.S C. § 1332).

        8.    Venue is proper in this District and Division pursuant to 28 U.S.C. 28

§ 81(b)(3) and 28 U.S.C. § 1391.

                  An Actual Controversy Exists Between the Parties

        9.    Tailgate Guys provides athletic event management services for fans.

        10.   Duffey and Otwell co-founded Tailgate Guys in 2009.

        11.   Duffey serves as President and Chief Executive Officer of Tailgate

Guys.

        12.   Otwell serves as Chief Production Officer of Tailgate Guys.

        13.   D&O has the majority ownership interest in Tailgate Guys.

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      14.    Duffey and Otwell are members of D&O.

      15.    On April 1, 2016, Duffey hired McClain to serve as Director of the

Texas Territory.

      16.    McClain expressed to Duffey a desire to eventually obtain an

ownership interest in Tailgate Guys.

      17.    McClain incorrectly alleges he expressed to Otwell a desire to

eventually obtain an ownership interest in Tailgate Guys.

      18.    No agreement was ever reached about McClain's potential purchase

of an ownership interest in Tailgate Guys.

      19.    On or about August 29, 2018, McClain left Tailgate Guys to pursue

another job opportunity.

      20.    On September 25, 2018 ("September 25 Letter"), Duffey received a

letter from McClain's attorney demanding that McClain be recognized as an equity

owner in Tailgate Guys. A true and accurate copy of that September 25, 2018

letter is attached as Exhibit A.

      21.    On October 29, 2018, counsel for Plaintiffs received another letter

from McClain's attorney, further contending that McClain was entitled to an equity

ownership in Tailgate Guys. A true and accurate copy of that October 29, 2018

letter is attached as Exhibit B.




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      22.    Plaintiffs fully and completely dispute that McClain is entitled to, or

currently has, any ownership interest in Tailgate Guys.

      23.    Therefore, there exists an actual, concrete controversy between

Plaintiffs and McClain.

                          COUNT I — Declaratory Judgment

      24.    The allegations of paragraphs 1-23 are incorporated by reference as if

fully set forth herein.

      25.    The Court should declare that McClain has no interest in, or

entitlement to, any percentage of ownership of Tailgate Guys.

      26. The Court should exercise its broad discretion to issue the requested

declaratory judgment as such a judgment will settle the controversy between the

parties and has the useful purpose of clarifying the parties' legal rights and

obligations regarding McClain's claimed interest in, or entitlement to, equity

ownership of Tailgate Guys. No better or more effective remedy exists than for the

Court to issue the requested declaratory judgment.

                                   Relief Sought

WHEREFORE,premises considered, Plaintiffs seek the following relief:

       A.    That the Court takes jurisdiction ofthis cause.

      B.     That the Court order, adjudge and decree that this is a proper cause of

             an action of declaratory judgment and that there is a bona fide

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              controversy between the parties as to their legal rights, duties, status

              and liabilities.

        C.    That the Court declare McClain does not currently own an interest in

              Tailgate Guys,LLC.

        D.    That the Court declare McClain is not entitled, contractually or

              otherwise, to acquire an ownership interest in Tailgate Guys,LLC.

        E.    That the Court grant Plaintiffs such other, further, and different

              general relief to which it may be entitled, including but not limited to

              attorneys' fees and costs.

        Dated: November 2, 2018.

                                                  Respectfully submitted,

                                                  Tailgate Guys, LLC;Parker Duffey;
                                                  Michael Otwell; and Duffey & Otwell
                                                  Companies, LLC

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